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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                        §
                                                                  § Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                  § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.
                                                                  §
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  § Adv. Proc. No. 21-03005-sgj
                                     Plaintiff,
                                                                  §
    v.
                                                                  §
                                                                  §
    NEXPOINT ADVISORS, L.P.,
                                                                  §
                                                                  §
                                     Defendant.
                                                                  §
                                                                  §

1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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 DEBTOR’S OPPOSITION TO MOTION FOR ENTRY OF PROTECTIVE ORDER

       Highland Capital Management, L.P., the above-captioned plaintiff (the “Debtor”), by and

through its undersigned counsel, hereby files this opposition (this “Opposition”) to the duplicate

Motion for Entry of a Protective Order (the “Motion”) filed by (a) defendant Highland Capital

Management Fund Advisors, L.P. (“HCMFA”) at Docket No. 42 in Adv. Pro. No. 21-03004, and

(b) defendant NexPoint Advisors, L.P. (“NexPoint” and together with HCMFA, the “Defendants”)

at Docket No. 37 in Adv. Pro. No. 21-03005. In support of this Opposition, the Debtor represents

as follows:

                                PRELIMINARY STATEMENT

       1.      Since January 21, 2020, the Debtor, the Official Committee of Unsecured Creditors

(the “UCC”), all parties (including each of the Defendants) to the dozens of adversary proceedings

and contested matters commenced in the above-referenced bankruptcy case, and all parties-in-

interest exchanged documents and information, formally and informally, pursuant to the Agreed

Protective Order in the Bankruptcy Case, entered by the Court in the main case at Docket No. 382

after notice and a hearing. Defendants now seek further protection, including attempting to (a)

interfere with the Debtor’s attorney-client relationship, and (b) prevent the UCC and the Office of

the United States Trustee from seeing any documents and information that Defendants designate

as “confidential.”

       2.      There is no basis to grant the extraordinary relief requested – especially when a

protective order acceptable to all parties-in-interest has been in place for over a year and a half.

Indeed, other than generalized statements, the Defendants fail to describe any legitimate basis for

disturbing the status quo. Moreover, the substantive facts relating to the Defendants’ primary

defenses in the underlying adversary proceedings are already in the public domain and should not

be the subject of any protection, regardless of the outcome of the Motion.
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           3.       NexPoint has adopted the “conditions subsequent” defense first cobbled together

by James Dondero in the adversary proceeding initiated against him; that defense has been openly

addressed in (a) Mr. Dondero’s deposition, amended answer, and written responses to discovery,

and (b) in court proceedings, including motions for leave to amend pleadings and to withdraw the

reference. Consequently, the Protective Order is sufficient to protect NexPoint’s interests, and

NexPoint should not be permitted to designate anything relating to the “conditions subsequent”

defense as “confidential,” whether under the existing Protective Order or otherwise.

           4.       For its part, HCMFA contends that, in May 2019, Frank Waterhouse, then acting

as the Chief Financial Officer for both the Debtor and HCMFA, “mistakenly” issued two

promissory notes in favor of the Debtor in the aggregate amount of $7,400,000. In May 2021,

HCMFA moved to amend its answer to assert this defense, 2 relying on the declaration of its in-

house counsel, Dennis C. Sauter, Jr. (“Mr. Sauter”). 3 In connection with its motion to amend,

HCMFA directed the Debtor to speak with Thomas Surgent, the Debtor’s current General Counsel,

about the matter. The Debtor did so, learned that HCMFA’s defense is fabricated and without

merit, and promptly and publicly filed substantial documentation relating to HCMFA’s “mistake”

defense. 4 Thus, again, through (a) Mr. Sauter’s declaration, (b) HCMFA’s direction that the

Debtor speak with Mr. Surgent, and (c) the posting on the docket of voluminous documentation,

the facts concerning HCMFA’s “mistake” defense are out in the open. Consequently, HCMFA



2
    See Defendant’s Motion for Leave to Amend Answer, Adv. Pro. No. 21-03004, Docket No. 32.
3
    Declaration of Dennis C. Sauter, Jr., Adv. Pro. No. 21-03004, Docket No. 32-1.
4
  See, e.g., Debtor’s Amended Witness and Exhibit List with Respect to Hearing to Be Held on May 25, 2021 (Adv.
Pro. No. 21-03004) [Docket No. 35] (the “W&E List”) Exhibit Nos. 31-38 (together, the “Rebuttal Documents”). The
Rebuttal Documents – as well as other documentary evidence (much of it signed by Mr. Waterhouse, who thereby
ratified the validity of the applicable promissory notes) that proves that HCMFA’s defense of “mistake” is contrived
(see, e.g., W&E List, Exhibit Nos. 28 through 30 and 45 through 65) – have been on the docket and publicly available
for more than two months without action by HCMFA.



                                                          2
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should not be permitted to designate anything relating to the “mistake” defense as “confidential,”

whether under the existing Protective Order or otherwise.

       5.      For these reasons, and for those set forth below, the Motion should be denied.

                            THE MOTION SHOULD BE DENIED

       6.      On January 21, 2020, this Court entered the Agreed Protective Order in the

Bankruptcy Case [Docket No. 382] (the “Protective Order”). The Protective Order was entered

after notice and a hearing. See Second Amended Notice of Agenda of Matters Scheduled for

Hearing on January 21, 2020 at 9:30 AM (Central Time) [Docket No. 374]. Neither Mr. Dondero

not any entity controlled by him (including the Defendants) objected to the Protective Order.

       7.      For more than a year and a half, the Protective Order has been relied upon by all

parties-in-interest in informal discovery and in all contested matters and adversary proceedings.

There is no reason why the Protective Order cannot be utilized in these adversary proceedings,

notwithstanding the four “problems” Defendants suddenly have with it.

A.     The Protective Order Can Be Applied to Defendants’ Adversary Proceedings

       8.      Defendants’ first “problem” is that, “on its face,” the Protective Order does not

apply to adversary proceedings. See Motion ¶5(a). This contention is without merit. Indeed,

Defendants are the first parties to any of the adversary proceedings to make this assertion.

Nevertheless, to address this purported concern, the Debtor offered weeks ago to stipulate that the

Protective Order would apply to the adversary proceedings commenced against the Defendants.

The Debtor stands by that offer.

B.     Defendants Have No Right to Interfere with the Debtor’s Attorney-Client Relationships

       9.      Defendants next take issue with the provision of the Protective Order that excludes

as “Confidential” any information that was “lawfully within a party’s possession prior to it being

furnished to such party in the bankruptcy case.” See Motion ¶5(b). According to Defendants, this


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is a “problem” because the Debtor may have confidential information “solely by virtue of the fact

that the Plaintiff’s in-house counsel once represented the Defendants.” Id. Defendants offer no

evidentiary support for this assertion. Indeed, as the Court is aware, the Debtor entered into the

shared-services agreements with the Defendants, not any individual in-house compliance officer

or attorney. Thus, any confidential information the Debtor may have (if any) was lawfully

obtained pursuant to the shared-services agreements to which it was a party; conversely, any

confidential information that any compliance officer or in-house attorney may have (if any) was

obtained in his capacity as an employee of the Debtor.

         10.      In any event, as it relates to this particular matter, HCMFA’s counsel specifically

instructed the Debtor to “talk to Mr. Surgent” about HCMFA’s “mistake” defense. Morris Dec.

Ex. 1. 5 Consequently, as a matter of contract and ethics, the Debtor has every right to confer with

its employees who may have provided services on the Debtor’s behalf, and the “problem” is moot

because the Debtor has already followed HCMFA’s instruction and cannot “unring the bell.” 6

C.       The UCC and United States Trustee’s Office Should Have Access to Confidential
         Information

         11.      Defendants also seek to prevent the UCC and the Office of the United States

Trustee (the “UST’s Office”) from obtaining or reviewing confidential information on the ground




5
 “Morris Dec.” refers to the Declaration of John A Morris in Support of Debtor’s Opposition to Motion for Entry of
Protective Order being filed contemporaneously herewith.
6
  Based on recent correspondence, Defendants’ attempt to “ring fence” Debtor’s in-house counsel here may be their
opening salvo in a broader effort to interfere with the Debtor’s attorney-client relationships. If nothing else, this
attempt and any further efforts are obviously awfully late in the process, coming as they are (a) almost 22 months after
the bankruptcy case was commenced; (b) more than 18 months after (i) Mr. Dondero agreed to give the UCC standing
to pursue “estate claims,” and (ii) the Protective Order was entered; (c) 12 months after the Court entered orders that
resolved discovery motions (none of which were appealed) whereby the UCC was given access to all “confidential”
information; and (d) almost 6 months after the issue of control over documents and information was addressed as part
of the resolution of the Debtor’s motion for a mandatory injunction.



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that “there is no reason why they should receive confidential information provided in the

Adversary Proceeding.” Motion ¶5(c).

        12.      The Debtor is prosecuting the Adversary Proceedings for the benefit of its creditors,

for which the UCC serves as their representative. If that were not enough (and it should be), as

the Court will recall, the UCC has standing to pursue “estate claims” and even has the right to the

Debtor’s privileged information. There is no credible dispute that the claims asserted in the

underlying adversary proceedings are “estate claims.” Defendants offer no basis for shielding

information for the statutorily appointed UCC, and the Court should deny this extraordinary

request.

        13.      The Court should also reject Defendants’ attempt to prevent the UST’s Office from

reviewing any information that Defendants deem “confidential” and from otherwise exercising its

oversight role. As the record already shows, the SEC conducted an investigation into HCMFA’s

initial “mistake” 7 such that (a) it is difficult to comprehend a credible argument in favor of

confidentiality, and (b) there is a compelling reason why the UST’s Office should at least have

access to allegedly “confidential” information.

D.      Defendants Can Seek to Enforce or Rely on the Protective Order

        14.      Finally, Defendants contend that they are not entitled to seek to enforce or rely upon

the Protective Order because they are “Dondero Parties” (as that term is defined in the Protective

Order. Motion 5(d). Defendants are mistaken.

        15.      Paragraph 17 of the Protective Order states that there are “no third-party

beneficiaries to the Order. That provision expressly applies to the “Dondero Parties” (as defined




7
  See (a) Declaration of Dennis C. Sauter Jr., Adv. Pro. No. 21-03004, Docket No. 32-1 ¶¶24-27; (b) Morris Dec. Ex.
1; and (c) W&E List, Exhibits 33 through 36.



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therein), “unless any of the Dondero Parties is asked (formally or informally) to produce or receive

Discovery Materials thereby becoming a ‘Party’” as defined in the Protective Order. Protective

Order ¶17.

       16.     Thus, while Defendants are “Dondero Parties,” they will have all the rights (and

obligations) under the Protective Order because they will be asked to “produce or receive

Discovery Materials” and thereby become “Parties” thereunder – especially if they simply agree

to the Debtor’s offer to expressly have the Protective Order adopted for the Adversary Proceedings.

E.     The Motion Should Be Denied to Avoid Undue Burdens and Inconsistent Rules

       17.     While the Debtor contends that the “problems” identified by Defendants are either

easily resolved (items A and D above), or are without merit (items B and C above), the Debtor

opposes the Motion for an independent reason: granting the Motion could open the floodgates to

similar demands by the many other Dondero Parties which will create unnecessary burdens and

leave the Debtor, parties-in-interest, and the Court with differing (and perhaps conflicting)

provisions, rights, and obligations. Given the number of adversary proceedings and contested

matters, consistency is critical – particular after all parties-in-interest have been operating under

the same rules for more than a year and a half.

                                         CONCLUSION

       For the reasons set forth herein, the Debtor respectfully requests that the Court deny the

Motion and grant such other and further relief as the Court deems just and proper.




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Dated: August 9, 2021.              PACHULSKI STANG ZIEHL & JONES LLP

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